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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION
 VEROBLUE FARMS USA, INC.                           )
           Plaintiff,                               )
 v.                                                 )
                                                    )
 LESLIE A. WULF, et al.                             ) Case No. 3:19-cv-00764-X
            Defendants.                             )

    PLAINTIFF’S SUBMISSION OF SUPPLEMENTAL AUTHORITY REGARDING
                      DEFENDANT DRIVER’S REPLY

       Plaintiff, VeroBlue Farms USA, Inc. (“VBF”), as permitted by this Court during May 6,

2020 oral argument discussions, submits its Supplemental Authority in response to the authorities

cited by Defendant Keith Driver (“Driver”) for the first time in his Reply [Dkt. 241] to his Motion

to Dismiss VeroBlue’s Second Amended Complaint [Dkt. 180] (the “Motion”), attaching the cases

cited herein as Exhibit A through Exhibit E:

       Driver cited Forest Oil Corp. v. McAllen, 268 S.W.3d 51, 58 (Tex. 2008) for the

proposition that “[i]n general, a contract is subject to avoidance on the ground of fraudulent

inducement. However, in some situations, the parties can agree in the contract to waive the right

to assert fraud by expressly disclaiming reliance.” Dkt. 241 at 10 (emphasis added). In Forest

Oil, the non-reliance clause stated in relevant part as follows: “in executing the releases contained

in this Agreement, [the parties are not] relying upon any statement or representation of any agent

of the parties being released hereby. [We are] relying on [our] own judgment....” Forest Oil, 268

S.W.3d at 54 n. 4. Driver concedes, however, that the alleged “Release Agreement” upon which

he relies “does not specifically contain express non-reliance language.” Dkt. 241 at 12. Therefore,

Forest Oil does not apply here.

       In addition, the following cases further establish that Forest Oil is not applicable here:
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       Italian Cowboys Partners, Ltd. v. Prudential Ins. Co. of America, 341 S.W.3d 323,
       328, 333-334 (Tex. 2011): distinguishing Forest Oil, reiterating that there is no per
       se bar of fraudulent inducement claims even in the face of an express non-reliance
       clause, and finding that a clause through which a party “acknowledges that neither
       [the other party] nor [the other party’s representatives]…have made any
       representations or promises…except as expressly set forth herein,” even when
       combined with an integration clause, did not constitute an express non-reliance
       clause.

       In re Primera Energy, LLC, 560 B.R. 448, 459-460 (Bankr. W.D. Tex. 2016):
       finding that, even when there is specific non-reliance language, as there was in
       Forest Oil (which is not the case here), the plaintiff can overcome a Federal Rule
       of Civil Procedure 12(b)(6) motion based on the same by sufficient allegations of
       fraudulent inducement.

       Duke Energy Int’l, LLC v. Napoli, 748 F. Supp. 2d 656, 669-671 (S.D. Tex. 2010):
       distinguishing Forest Oil, finding “as-is” and merger clauses do not constitute
       non-reliance clauses, and finding that the Texas Supreme Court in Forest Oil did
       not hold that explicit non-reliance clauses were per se immune to fraudulent
       inducement claims: “Finally, the Texas Supreme Court was clear in each decision
       that it did not announce a “per se rule that a disclaimer automatically precludes a
       fraudulent-inducement claim,” but rather held merely that, on the records presented
       in those cases, such claims were barred.” (citing Forest Oil, 268 S.W.3d at 61;
       Schlumberger Tech. Corp. v. Swanson, 959 S.W.2d 171, 181 (Tex. 1997)).

       Therefore, Forest Oil does not apply to this case since Driver’s alleged Release Agreement

does not contain a non-reliance clause, and even if it did, the above cases confirm that such a clause

would still be subject to VBF’s claim for fraudulent inducement in the Second Amended

Complaint. Therefore, Driver’s Motion should be denied.

Respectfully submitted,

VEROBLUE FARMS USA, INC

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                               CERTIFICATE OF SERVICE

       The undersigned, a non-attorney, hereby certifies under penalties as provided by law, that
on May 13, 2020 she caused a true and correct copy of Plaintiff’s Submission of Supplemental
Authority Regarding Defendant Driver’s Reply to be served upon counsel of record via ECF
system of Texas:


                                                                   /s/    Arianna Thornton




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